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UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS

 

MOTION AND ORDER
FOR ADMISSION PRO HAC VICE

 

 

 

 

 

 

 

 

 

 

Division Houston Main Case Number 18-32106
,Debt°r In Re: Erin Energy Corporation, et al.
This lawyer, Who is admitted to the State Bar of Loulslana
Name n / Fernand L. Laudumiey, lV
Firm ' ~ Chaffe |V|cCa||, LLP
Street ` ` 2300 Energy Centre, 1100 Poydras Street
City_& Zip Code ` ` NeW Or|eans, LA 70163-2300
Telephone 504-585-7000
Licensed: State & Number Louisiana: 24518

 

 

 

 

Seeks to appear as the attorney for this party:

 

Glencore U}< Ltd.

Dated: 6/5/2018 Signed; z/LM“»*~Q j L<,Qj-<)`H

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COURT USE ONLY: The applicant’s state bar reports their status as:

 

Dated: Signed:

 

 

 

 

Deputy Clerk

 

 

Order

 

 

 

This lawyer is admitted pro hac vice.

Dated:

 

United States Bankruptcy Judge

